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            EXHIBIT 5
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1               IN THE UNITED STATES DISTRICT COURT
2              FOR THE NORTHERN DISTRICT OF GEORGIA
3                             ATLANTA DIVISION
4    _________________________________
5    DONNA CURLING, ET AL.,                         )
6          Plaintiffs,                              )CIVIL ACTION FILE
7    vs.                                            )NO. 1:17-CV-2989-AT
8    BRAD RAFFENSPERGER, ET AL.,                    )
9          Defendants.                              )
10   _________________________________)
11
12                      VIDEOTAPED DEPOSITION OF
13                 MICHAEL IAN SHAMOS, PH.D., J.D.
14                             July     19, 2019
15                                9:16 a.m.
16
17
18             Ross Alloy Belinfante Littlefield, LLC
19                         500 14th Street N.W.
20                            Atlanta, Georgia
21
22
23
24   Robin K. Ferrill, CCR-B-1936, RPR
25   PAGES 1 - 217

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13         Q.     But you agree -- you said you are not a fan
14   of the bar codes.        You agree that if a BMD is going
15   to be used, the more reliable approach is one that is
16   readable by the human voter, and that what's going to
17   get tallied is what they can actually read
18   themselves; is that fair?
19                MR. RUSSO:      Objection.         This is outside the
20         scope of his declaration.
21         A.     Yes, I agree.
22         Q.     (By Mr. Cross) Thank you.
23                On paragraph 52, again, the last sentence
24   reads, "A BMD never makes a mark that would not
25   constitute a vote."        Do you see that?

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1          Q.     All right.      Take a look at paragraph 106.
2          A.     Yes.
3          Q.     You wrote here, "If the Russians want to
4    skew Georgia's elections" -- do you see where I am at
5    the end?
6          A.     Yes.
7          Q.     -- "it would be much easier for them to do
8    so by bringing" -- or sorry, "by bribing insiders to
9    tamper with paper ballots, particularly absentee
10   ballots, than to mount sophisticated cyberattacks for
11   which there is no realistic penetration factor."                    Do
12   you see that?
13         A.     Yes.
14         Q.     But as we talked about before, Russians
15   could also just bribe insiders to tamper with DREs,
16   such as swapping out memory cards, right?
17         A.     They could.
18         Q.     That would be a realistic penetration
19   factor with the current system, right?
20         A.     Yes.
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9          Q.     You also understand that by infecting only
10   a relatively small number of DREs, that could affect
11   the outcome of an election, right?
12         A.     It can affect close elections, yes.              Of
13   course, you never know in advance which ones are
14   really going to be close.
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22         Q.     So you have got a state-wide election in
23   which about 4 million voters have voted, and the
24   leading candidate is ahead by, say, almost 20,000
25   votes.

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23          Q.    And then in paragraph 98, you go on to say,
24   "In proper parallel testing, officials select a
25   precinct at random and designate a machine to be

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1    voted on, but its votes will not be counted in the
2    election."      Do you see that?
3           A.    Yes, I think this -- I think this was
4    misunderstood because I didn't phrase it correctly.
5    It's not one precinct in the whole state; you could
6    certainly do this in every county.
7           Q.    So this should be done in every county?
8           A.    Yes.    And in big counties, you would pick
9    more than one precinct.
10          Q.    So a big county like Fulton, for example,
11   how many precincts would you suggest?
12          A.    I don't know.        That's a statistical matter
13   to figure out what the right number would be.
14          Q.    But you would expect someone with
15   statistical expertise to figure out an appropriate
16   statistical number of machines for the parallel
17   testing?
18          A.    Yes.
19          Q.    Do you understand that Georgia currently
20   does parallel testing on a single DRE out of all
21   27,000 --
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14                THE WITNESS:        I don't mind.       I'm given to
15          understand that the process you outlined is
16          what -- is the process followed in Georgia.                   I
17          castigate Georgia for not following my
18          recommendations on how parallel testing should
19          be done.
20          Q.    (By Mr. Cross) And you would agree that
21   nothing can be reliably concluded about the
22   reliability of DREs across the state, the 27,000 DREs
23   in the state-wide election, or even across county or
24   municipal elections, based on parallel testing of a
25   single DRE.       We agree on that, right?

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1           A.    The only thing a parallel testing on a
2    single DRE will reveal is whether all of the voting
3    machines in the state have been infected, because
4    then the machine being tested would also have been
5    infected.
6           Q.    Right.     The only way you could have any
7    confidence that the machine you have indicates
8    anything about the reliability of the 27,000, is if
9    all 27,000 are affected?
10          A.    Yes, I don't have confidence in a procedure
11   which selects one machine out of 27,000.
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7    time ago."      You indicate, "I was an examiner from
8    Pennsylvania in 2006 when the exploit was discovered.
9    When I learned of it, I persuaded the Pennsylvania
10   Secretary of the Commonwealth to threaten Diebold
11   with decertification unless the vulnerability was
12   remediated before the next election.                 Diebold did so
13   and demonstrated the repair to the satisfaction of
14   the secretary."       Do you see that?
15          A.    Yes.
16          Q.    And you previously characterized this
17   particular vulnerability as, quote, one of the most
18   severe security flaws ever discovered in a voting
19   system.     Do you remember that?
20          A.    Up to 2006, yes.
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7                 So today you have a view that there are
8    more serious flaws that have been discovered with
9    DREs?
10           A.   I think so.
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6           Q.    But there's no evidence, that we have seen,
7    that Georgia implemented the patch with remediation
8    that you describe in paragraph 74 -- or, sorry,
9    paragraph 75 for the -- for what you characterize as
10   the most severe security flaw ever as of 2006, right?
11          A.    As I say, I don't know.
12          Q.    You didn't ask anyone that for your
13   opinions, right?
14          A.    No.
15          Q.    And do I understand correctly, that if the
16   current software running in Georgia dates back to
17   2004/2005, and they didn't implement any patches
18   after that time, we can infer that the remediation
19   did not occur in Georgia, right?
20          A.    Yes, we can infer that.                 And it should be
21   done before the machines are used again.
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12          Q.    I got you.       So -- and, obviously, if
13   malware ends up on the memory cards, it can be
14   propagated between GEMs and the DREs.
15          A.    Yes.
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